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                     UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IN RE:                                                 )       20-00477
                                                       )
TYRA KENNEDY-WINSTON,                                  )       Chapter 13
                                                       )
                       Debtor(s).                      )       Judge Cassling
                                                       )

          OBJECTION OF SECURED CREDITOR, MARY CATHERINE HICKS,
              TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN

         Secured Creditor, Mary Catherine Hicks (“Creditor”), in the above-captioned Chapter 13

case of Tyra Kennedy-Winston (“Debtor”), by and through her attorneys, Segal McCambridge

Singer & Mahoney, Ltd., respectfully submits this objection (“Objection”) to confirmation of the

Debtor’s Chapter 13 Plan (as may be amended or modified, the “Plan”), pursuant to Fed. R. Bankr.

P. 3015(f) and 9014. In support of her Objection, Creditor states as follows:

         1.     Debtor filed a voluntary petition for relief under Chapter 13 of Title 11 of the United

States Code (Case No. 20-00477) on January 8, 2020. See Doc. No. 1.

         2.     Creditor is a secured creditor by virtue of a judgment entered in an amount of

$9,700.00 in favor of Creditor, and against Debtor, filed with the Clerk of the Circuit Court of

Cook County, Illinois (Case No. 08-M1-147818), and entered on July 30, 2009. Said judgment

was revived in the entire unpaid amount of $9,500.00, in the Municipal Department/First District

of the Circuit Court of Cook County, Illinois on May 21, 2018.

         3.     Interest on judgments in Illinois, as mandated by 735 ILCS 5/2-1303, is 9% per

annum.

         4.     On January 8, 2020, Debtor filed her proposed Plan. See Doc. 2. The hearing on

confirmation is set for February 27, 2020.

         5.     The Section 341 meeting of creditors was held on February 4, 2020.

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        6.     On February 10, 2020, the Trustee filed a Motion to Dismiss for Unreasonable

Delay because the Debtor failed to amend her schedule I and the Plan is not feasible. See Doc. 20.

        7.     On February 10, 2020, the Trustee filed a Motion to Dismiss for Failure to Make

Plan Payments. See Doc. 21.

        8.     Debtor filed a prior voluntary Chapter 13 bankruptcy case (Case no. 18-09010,

“2018 Case”) on March 28, 2018, pending within one year preceding the filing of this current case,

and dismissed on October 31, 2019 for failure to make plan payments.

        9.     Debtor’s Schedule E/F incorrectly classifies Creditor’s claim as an unsecured claim

and incorrectly lists Creditor’s debt as in an amount of $0.00.

        10.    Creditor objects to confirmation of the Plan on the ground that it does not provide

for any treatment of Creditor’s secured claim.

        11.    Creditor also objects to confirmation of the Plan to the extent that it misclassifies

Creditor’s claim as an unsecured claim, instead of secured.

        12.    Creditor further objects to confirmation of the Plan to the extent that it misstates

Creditor’s debt as in an amount of $0.00, instead of the $18,984.18 owed to Creditor.




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       WHEREFORE, Creditor, Mary Catherine Hicks, respectfully requests that this Honorable

Court enter an order denying confirmation of Debtor’s Chapter 13 Plan and for any additional

relief that the Court deems just and proper.

                           Respectfully submitted,

                           SEGAL McCAMBRIDGE SINGER & MAHONEY, LTD.

                           By:        /s/ Taofikat I. Ninalowo

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